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 1                                                      THE HONORABLE RICARDO S. MARTINEZ

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 8
            UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT
 9
              OF WASHINGTON, TACOMA
10
      NW MONITORING LLC, a Delaware limited                     Civil Action No. 3:20-cv-05572-RSM
11    liability company,
                                                                STIPULATED MOTION AND ORDER
12                                      Plaintiff,              REGARDING DISCOVERY AND FED. R.
                                                                CIV. P. 26(f) DEADLINES
13    v.

14    SUSAN L. HOLLANDER, et al.,

15                                      Defendants.             Noting Date: October 16, 2020

16
                                  STIPULATED MOTION REGARDING DISCOVERY
17                                     AND FED. R. CIV. P. 26(f) DEADLINES

18            All Parties jointly file this Stipulated Motion Regarding Discovery and Fed. R. Civ. P. 26(f)

19   Deadlines.

20                                                   BACKGROUND

21            Plaintiff filed their Complaint (Dkt. 1) on June 16, 2020. On June 23, 2020, the Court issued

22   an Order Regarding Initial Disclosures, Joint Status Report, and Early Settlement that set the deadline




                                                                          YOUNGLOVE & COKER, P.L.L.C.
                                                                                  ATTORNEYS AT LAW
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                                                                          1800 COOPER POINT RD SW, BLDG 16
     AND RULE 26(F) DEADLINES – Page 1                                               PO BOX 7846
     Case No. 3:20-cv-05572-RSM                                            OLYMPIA, WASHINGTON 98507-7846
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 1   for the parties to conduct a Rule 26(f) conference as September 8, 2020; the deadline for initial

 2   disclosures as September 14, 2020; and the deadline for filing a Combined Joint Status Report under

 3   Rule 26(f) as September 21, 2020 (Dkt. 5).

 4            On August 12, 2020, Defendants Jeffery D. Parkinson, 4319 Consulting, Inc., and the Marital

 5   Community of Parkinson (defendants Parkinson) filed a Motion to Dismiss the complaint under Fed.

 6   R. Civ. P. 12(b)(1) and 12(b)(6) for lack of subject matter jurisdiction and failure to state a claim for

 7   relief, which, if granted, would be dispositive of the Complaint, and noted the motion on the Court’s

 8   calendar for September 11, 2020 (Dkt. 13).

 9            On August 20, 2020, Defendants Susan L. Hollander and the Marital Community Comprised

10   of Susan L. Hollander (defendants Hollander) filed a Motion for Partial Dismissal of Plaintiff’s

11   Complaint and joined in Defendant Parkinson’s motion to dismiss and noted the motion on the Court’s

12   calendar for September 11, 2020 (Dkt. 16).

13            On August 21, 2020, Defendant Charlene Wolfe (defendant Wolfe) filed a Joinder to the

14   Motion to Dismiss and Partial Motion to Dismiss (Dkt. 17 and 18).

15            On September 8, 2020, plaintiff filed an Opposition by Plaintiff in response to defendants’

16   motion to dismiss and partial motion to dismiss (Dkt. 19, 20, and 21).

17            On September 11, 2020, defendants Parkinson filed a reply in support of their motion to

18   dismiss (Dkt. 23) and defendant Hollander filed a reply in support of their motion for partial dismissal

19   (Dkt. 22).

20            On September 8, 2020, pursuant to an agreed request of counsel, the Court continued the

21   deadlines 45 days. The deadline to conduct a Rule 26(f) conference is now October 16, 2020; the

22   deadline for initial disclosures is now October 23, 2020; and the deadline for filing a Combined Joint




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 1   Status Report under Rule 26(f) is now October, 30, 2020.

 2            Except as set forth above, no other pre-trial deadlines have been requested to date.

 3                                                    MOTION

 4            Pursuant to Local Rule 7(d)(1), the parties jointly move that the Court enter an order as follows:

 5            1.        The deadline for the parties to conduct a Rule 26(f) conference shall be continued to

 6   the later of December 15, 2020, or fourteen (14) days after the Court issues a ruling on Defendants’

 7   Motions to Dismiss, if anything remains of the action at that time.

 8            2.        The deadline for the Defendants to file their respective Answers to the Complaint shall

 9   be twenty (20) days after the Court issues a ruling on Defendants’ Motions to Dismiss.

10            3.        The deadline for the parties to exchange initial disclosures shall be continued to seven

11   (7) days after the continued Rule 26(f) conference deadline.

12            4.        The deadline for the parties to submit a Joint Status Report to the Court shall be

13   continued to fourteen (14) days after the continued Rule 26(f) deadline.

14   DATED October 15, 2020.                          YOUNGLOVE & COKER, P.L.L.C.

15

16                                                           s/Gregory M. Rhodes
                                                      GREGORY M. RHODES, WSBA #33897
17                                                    Attorney for Defendant Wolfe

18   DATED October 15, 2020.                          PERKINS COIE, LLP

19

20                                                           s/Christian W. Marcelo
                                                      DAVID A. PEREZ, WSBA #43959
21                                                    CHRISTIAN W. MARCELO, WSBA #51193
                                                      Attorneys for Defendants Parkinson and 4319
22                                                    Consulting, Inc.




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                                                                                      ATTORNEYS AT LAW
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 1   DATED October 15, 2020.                   BEAN LAW GROUP

 2
                                                      s/Matthew J. Bean
 3                                             MATTHEW J. BEAN, WSBA #23221
                                               CODY FENTON-ROBERTSON, WSBA #47879
 4                                             Attorneys for Defendants Hollander, M.D.

 5   DATED October 15, 2020.                   ZEHNDER LAW LLP

 6
                                                      s/John E. Zehnder, Jr.
 7                                             JOHN E. ZEHNDER, WSBA #29440
                                               JOSEPH P. ZEHNDER JR., WSBA #28404
 8                                             Attorneys for Plaintiff NW Monitoring LLC

 9
                                                ORDER
10
              Pursuant to Stipulated Motion, IT IS SO ORDERED.
11
     DATED this 16th day of October, 2020.
12

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14

15                                             A
                                               RICARDO S. MARTINEZ
16                                             CHIEF UNITED STATES DISTRICT JUDGE

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                                                                    YOUNGLOVE & COKER, P.L.L.C.
                                                                            ATTORNEYS AT LAW
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 1                                          CERTIFICATE OF SERVICE

 2
              I hereby certify that on the 15th day of October, 2020, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the following:
 4
                                      John E. Zehnder, Jr. and Joseph P. Zehnder
 5                                                 Zehnder Law LLP
                                                 Attorneys for Plaintiff
 6                                Email: johnz@zehnderllp.com and joez@zehnderllp.com

 7                                  Matthew J. Bean and Cody Fenton-Robertson
                                                   Bean Law Group
 8                                    Attorneys for Defendant Susan L. Hollander
                             Email: matt@beanlawgroup.com and cody@beanlawgroup.com
 9
                                    Christian W. Marcelo and David A. Perez
10                                                Perkins Coie LLP
                                    Attorneys for Defendant Jeffery D. Parkinson
11                         Email: CMarcelo@perkinscoie.com and DPerez@perkinscoie.com

12            DATED this 15th day of October, 2020.

13                                                           /s Angie Dowell
                                                      Angie Dowell, Paralegal
14                                                    Younglove & Coker, P.L.L.C.

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                                                                               YOUNGLOVE & COKER, P.L.L.C.
                                                                                       ATTORNEYS AT LAW
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